Case 4:17-cr-00588`,fDocument 1 Filed in TXSD on 10/04/17 Page 1 of 3

owing 0 4 2017
UNITEI) sTATEs DIsTRICT coURT se
soUTHERN DISTRICT oF TEXAS ~ ;¢'&;$qn
HoUsToN DIvIsIoN °'¢ou¢
UNITED sTATEs oF AMERICA §
§
vs. § CRIMINAL No.
§ YXCR
EI)DIE LARUE § 8 8
Defendant. §

fiat ',"e-} !Rn 1 `/`_ ’& ‘_,¢_)‘
CRIMINAL INDICTMENT § §§ i§§x " § §§ §§
THE GRAND JURY CHARGES THAT:

M
(Sex Trafficking of a Minor)

From on or about June 2 - 4, 2017, in the Southern District of Texas,
EDDIE LARUE

defendant herein, in and affecting interstate and foreign commerce, knowingly recruited, enticed,
harbored, transported, provided, obtained, advertised, maintained, patronized and solicited by any
means a person, namely a minor female known as JANE DOE, who was under 18, and benefitted
financially and by receiving anything of value from participation in a venture which has engaged in
recruiting, enticing, harboring, transporting, providing, obtaining, maintaining, advertising,
patronizing and soliciting by any means JANE DOE, knowing and in reckless disregard of the fact
that (l) means of force, threats of force, fraud, and coercion, and any combination of such means,
would be used to cause JANE DOE to engage in a commercial sex act, and that (2) JANE DOE,
whom defendant had a reasonable opportunity to observe, had not attained the age of 18 years and
would be caused to engage in a commercial sex.

In violation of Title 18, United States Code, Section 1591(a), (b), and (c)

Case 4:17-cr-0058&'D0cument 1 Filed in TXSD on 10/04/17 Page 2 of 3
~J

NoTlCE oF FoRFEITURE
(18 U.s.C. § 1594(d))

Pursuant to Title 18, United States Code, Section 1594(d), the United States gives notice to
defendant,
EDDIE LARUE
that in the event of conviction of the offense charged in this Indictment, the following property is
subject to forfeiture:
(l) all real and personal property that was involved in, used, or intended to be used to commit or to
facilitate the commission of such violation and all property traceable to such property; and
(2) all real and personal property constituting or derived from, proceeds obtained, directly or
indirectly, as a result of such violation and all property traceable to such property.
MM
Defendant is notified that in the event of conviction, a money judgment may be imposed
equal to the total value of the property subject to forfeiture.
_SBM§_M
Defendan_t is notified in the event that one or more conditions listed in Title 21, United States
Code, Section 853(p) exists, the United States will seek to forfeit any other property of the defendant
up to the total value of the property subject to forfeiture

A True Bill.'
t)rigii'ial Sigiiature on File

v 'Grand Jury Forepers@

By:

Case 4:17-cr-0058é`3~D0cument 1 Filed in TXSD on 10/04/17 Page 3 of 3

ABE MARTINEZ
Acting United States Attomey

AA@/

§ebastian A. Edwards
Assistant United States Attomey
713-567-9503

v

